                              UNITED STATES BANKRUPTCY COURT
                          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
IN RE:                                                          :
ROSA ARIAS                                                      :      BK. No. 5:18-01055 RNO
                                 Debtor                         :
                                                                :      Chapter No. 13
THE BANK OF NEW YORK MELLON FKA THE BANK                        :
OF NEW YORK, AS TRUSTEE (CWALT 2006-31CB)                       :
                         Movant                                 :
                   v.                                           :
ROSA ARIAS                                                      :
                         Respondent                             :

                   OBJECTION OF THE BANK OF NEW YORK MELLON
              FKA THE BANK OF NEW YORK, AS TRUSTEE (CWALT 2006-31CB)
                TO CONFIRMATION OF THE DEBTOR’S CHAPTER 13 PLAN

        Movant, THE BANK OF NEW YORK MELLON FKA THE BANK OF NEW YORK, AS
TRUSTEE (CWALT 2006-31CB) (hereinafter referred to as "Movant"), by its attorneys Phelan Hallinan
Diamond & Jones, LLP hereby objects to confirmation of the Debtor's Chapter 13 Plan as follows:
        1.      Movant is THE BANK OF NEW YORK MELLON FKA THE BANK OF NEW YORK,
                AS TRUSTEE (CWALT 2006-31CB).
        2.      Debtor, ROSA ARIAS, is the owner of the property located at 508 WINTERS AVENUE #510,
                WEST HAZLETON, PA 18202-3733.
        3.      Movant is in the process of drafting and filing a Proof of Claim. The approximate arrears are
                $16,152.92.
        4.      Debtor's Plan fails to cure the delinquency pursuant to 11 U.S.C. §1322(b)(5).
        5.      Debtor’s Plan does not provide for payment of arrears to Movant. Instead, the Debtor’s Plan
                seeks to cramdown Movant’s valid secured lien to the value of $28,000.00. Movant does not
                agree to this value. A copy of the Debtor’s Plan is attached hereto as Exhibit "A" and made a
                part hereof.
        6.      Movant objects to this treatment of its claim and the proposed valuation of the property as the
                subject property is Debtor’s principal residence and Movant’s claim is protected under the anti-
                modification clause of §1322(b)(2).
        7.      Further, Movant takes the position that the subject property value far exceeds that amount being
                claimed by the Debtor.
        8.      Movant objects to the Debtor’s proposed Chapter 13 Plan as it provides no evidence to
                substantiate the value listed in the Plan. Strict proof is demanded at trial.
        9.      Movant requests the opportunity to conduct an appraisal of the property and have a valuation
                hearing scheduled, if needed.
        10.     Movant objects to the interest rate listed by the Debtor in the amount of 5.00%. This rate is less
                than the Note rate of 7.25% and does not follow the allowed interest rate set forth in In re Till.
        11.     Movant requests that the confirmation of the Chapter 13 Plan be denied in its entirety.



Case 5:18-bk-01055-RNO              Doc 18 Filed 04/23/18 Entered 04/23/18 19:48:22                         Desc
                                    Main Document    Page 1 of 14
        WHEREFORE, THE BANK OF NEW YORK MELLON FKA THE BANK OF NEW YORK, AS
TRUSTEE (CWALT 2006-31CB) respectfully requests that this Honorable Court deny confirmation of the
Debtor's Chapter 13 Plan.
                                        Respectfully Submitted,

                                        /s/ James A. Prostko, Esquire
                                        James A. Prostko, Esq., Id. No.27221
                                        Phelan Hallinan Diamond & Jones, LLP
                                        1617 JFK Boulevard, Suite 1400
                                        One Penn Center Plaza
                                        Philadelphia, PA 19103
                                        Phone Number: 215-563-7000 Ext 31501
                                        Fax Number: 215-568-7616
                                        Email: james.prostko@phelanhallinan.com




Case 5:18-bk-01055-RNO         Doc 18 Filed 04/23/18 Entered 04/23/18 19:48:22             Desc
                               Main Document    Page 2 of 14
                         Exhibit “A”



Case 5:18-bk-01055-RNO   Doc 18 Filed 04/23/18 Entered 04/23/18 19:48:22   Desc
                         Main Document    Page 3 of 14
                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

IN RE:                                           |        CHAPTER 13
                                                 |
ROSA ARIAS                                       |
                                                 |        CASE NO. 5:18-bk-
                                                 |
                                                 |
                                                 | X      ORIGINAL PLAN
                                                 |        AMENDED PLAN (Indicate 1ST , 2ND, 3RD,
                                                 |        etc)
                                                 |        Number of Motions to Avoid Liens
                                                 | 1      Number of Motions to Value Collateral

                                         CHAPTER 13 PLAN

                                                  NOTICES
Debtors must check one box on each line to state whether of not the plan includes each of the following
items. If an item is checked as “Not Included” or if both boxes are checked or if neither box is
checked, the provision will be ineffective if set out later in the Plan.


 1   The plan contains nonstandard provisions, set out in §9,       *      Included     G       Not
     which are not included in the standard plan as approved                                    Included
     by the U.S. Bankruptcy Court for the Middle District of
     Pennsylvania.

 2   The plan contains a limit on the amount of a secured          *       Included            Not
     claim, set out in §2.E, which may result in a partial                                    Included
     payment or no payment at all to the secured creditor.
 3   The plan avoids a judicial lien or nonpossessory,             G        Included    *       Not
     nonpurchase-money security interest, set out in §2.G                                      Included



                               YOUR RIGHTS WILL BE AFFECTED
READ THIS PLAN CAREFULLY. If you oppose any provision of this plan, you must file a timely
written objection. This plan may be confirmed and become binding on you without further notice or
hearing unless a written objection is filed before the deadline stated on the Notice issued in connection
with the filing of the Plan.

1.       PLAN FUNDING AND LENGTH OF PLAN.



Case
Case5:18-bk-01055-RNO
     5:18-bk-01055-RNO Doc
                       Doc18   Filed03/16/18
                            7 Filed 04/23/18 Entered
                                               Entered03/16/18
                                                      04/23/1809:13:00
                                                               19:48:22 Desc
                                                                        Desc
                       Main Document
                       Main Document    Page 4  of 14
                                         Page 1 of 11
        A.      Plan Payments From Future Income

                1. To date, the Debtor paid $________ (enter $0 if no payments have been made to
the Trustee to date). Debtor shall pay to the Trustee for the remaining term of the plan the following
payments. If applicable, in addition to monthly plan payments, Debtor shall make conduit payments
through the Trustee as set forth below. The total base plan is $45,264.00, plus other payments and
property stated in §1B below:


    Start             End                Plan           Estimated           Total              Total
   mm/yyyy           mm/yyyy           Payment           Conduit           Monthly           Payment
                                                        Payment            Payment           Over Plan
                                                                                               Tier
 04/2018           03/2022          $943.00            $0.00             $943.00           $45,264.00



                                                                                 Total $45,264.00
                                                                             Payments:

         2. If the plan provides for conduit mortgage payments, and the mortgagee notifies the Trustee
that a different payment is due, the Trustee shall notify the Debtor and any attorney for the Debtor, in
writing, to adjust the conduit payments and the plan funding. Debtor must pay all post-petition
mortgage payments that come due before the initiation of conduit mortgage payments.

        3. Debtor shall ensure that any wage attachments are adjusted when necessary to conform to
the terms of the plan.

        4. CHECK ONE:           ( x ) Debtor is at or under median income. If this line is checked,
                                the rest of §1.A.4 need not be completed or reproduced.

                                ( ) Debtor is over median income. Debtor calculates that a minimum
                                of $ 0.00 must be paid to allowed unsecured creditors in order to
                                comply with the Means Test.

B. Additional Plan Funding From Liquidation of Assets/Other

        1.      The Debtor estimates that the liquidation value of this estate is $ 0.00 (Liquidation value
                is calculated as the value of all non-exempt assets after the deduction of valid liens and
                encumbrances and before the deduction of Trustee fees and priority claims.)

        Check one of the following two lines.




Case
Case5:18-bk-01055-RNO
     5:18-bk-01055-RNO Doc
                       Doc18   Filed03/16/18
                            7 Filed 04/23/18 Entered
                                               Entered03/16/18
                                                      04/23/1809:13:00
                                                               19:48:22 Desc
                                                                        Desc
                       Main Document
                       Main Document    Page 5  of 14
                                         Page 2 of 11
           X   No assets will be liquidated. If this line is checked, the rest of §1.B need not be
               completed or reproduced.

               Certain assets will be liquidated as follows:

      2.       In addition to the above specified plan payments, Debtor shall dedicate to the plan
               proceeds in the estimated amount of $                from the sale of property known and
               designated as                     . All sales shall be completed by             . If the
               property does not sell by the date specified, then the disposition of the property shall be
               as follows:


      3.       Other payments from any source(s) (describe specifically) shall be paid to the Trustee
               as follows:                                                          .


2.    SECURED CLAIMS.

      A.       Pre-Confirmation Distributions. Check one.

       X       None. If “None” is checked, the rest of §2.A need not be completed or
               reproduced.

               Adequate protection and conduit payments in the following amounts will be paid by the
               Debtor to the Trustee. If the Trustee will disburse these payments for which a proof of
               claim has been filed as soon as practicable after receipt of said payments from the
               Debtor.


      Name of Creditor              Last Four Digits of Account         Estimated Monthly Payment
                                             Number



      1.       The Trustee will not make a partial payment. If the Debtor makes a partial plan
               payment, or if it is not paid on time and the Trustee is unable to pay timely a payment
               due on a claim in this section, the Debtor’s cure of this default must include any
               applicable late charges.

      2.       If a mortgagee files a notice pursuant to Fed. R. Bankr.P.3002.1(b), the change in the
               conduit payment to the Trustee will not require modification of this Plan.


      B.       Mortgages (Including Claims Secured by Debtor’s Principal Residence) and



Case
Case5:18-bk-01055-RNO
     5:18-bk-01055-RNO Doc
                       Doc18   Filed03/16/18
                            7 Filed 04/23/18 Entered
                                               Entered03/16/18
                                                      04/23/1809:13:00
                                                               19:48:22 Desc
                                                                        Desc
                       Main Document
                       Main Document    Page 6  of 14
                                         Page 3 of 11
                Other Direct Payments by Debtor. Check One.

            X   None. If “None” is checked, the rest of §2.B need not be completed or reproduced.


                Payments will be made by the Debtor directly to the creditor according to the original
                contract terms, and without modification of those terms unless otherwise agreed to by
                the contracting parties. All liens survive the plan if not avoided or paid in full under the
                plan.



      Name of Creditor                  Description of Collateral          Last Four Digits of Account
                                                                                    Number



       C.       Arrears (Including, but not limited to, claims secured by Debtor’s principal
                residence). Check one.

        X       None. If “None” is checked, the rest of §2.C need not be completed or reproduced.

                The Trustee shall distribute to each creditor set forth below the amount of arrearages in
                the allowed proof of claim. If post-petition arrears are not itemized in an allowed claim,
                they shall be paid in the amount stated below. Unless otherwise ordered, if relief from
                the automatic stay is granted as to any collateral listed in this section, all payments to the
                creditor as to that collateral shall cease, and the claim will no longer be provided for
                under §1322(b)(5) of the Bankruptcy Code.


 Name of              Description of        Estimated Pre-         Estimated Post-       Estimated Total
 Creditor             Collateral            Petition Arrears       Petition Arrears      to be paid in
                                            to be Cured            to be Cured           plan



       D. Other secured claims (conduit payments and claims for which a §506 valuation is
not applicable, etc.)

                        None. If “None” is checked, the rest of §2.D need not be completed or
                        reproduced.


        X               The claims below are secured claims for which a § 506 valuation is not




Case
Case5:18-bk-01055-RNO
     5:18-bk-01055-RNO Doc
                       Doc18   Filed03/16/18
                            7 Filed 04/23/18 Entered
                                               Entered03/16/18
                                                      04/23/1809:13:00
                                                               19:48:22 Desc
                                                                        Desc
                       Main Document
                       Main Document    Page 7  of 14
                                         Page 4 of 11
                       applicable, and can include: (1) claims that were either (a) incurred within 910
                       dates of the petition date and secured by a purchase money security interest in
                       a motor vehicle acquired for the personal use of the Debtor, or (b) incurred
                       within 1 year of the petition date and secured by a purchase money security
                       interest in any other thing of value; (2) conduit payments; or (3) secured claims
                       not provided elsewhere.

      1.       The allowed secured claims listed below shall be paid in full and their liens retained until
               completion of payments under the plan.

      2.       In addition to payment of the allowed secured claim, present value interest pursuant to
               11 U.S.C. §1325(a)(5)(B)(ii) will be paid at the rate and in the amount listed below,
               unless an objection is raised. If an objection is raised, then the court will determine the
               present value interest rate and amount at the confirmation hearing.

      3.       Unless otherwise ordered, if the claimant notifies the Trustee that the claim was paid,
               payments on the claim shall cease.


    Name of           Description of           Principal           Interest Rate       Total to be Paid
    Creditor           Collateral             Balance of                                   in Plan
                                                Claim
     Greater          508-510                   $672.00                None                 $672.00
  Hazleton Joint     Winters Ave.,
   Sewer Auth.       West Hazleton,
                       PA 18202

  Hazleton City       508-510                  $1,784.47               None                $1,784.47
  Authority          Winters Ave.,
                     West Hazleton,
                       PA 18202

  West Hazleton       508-510                   $767.00                None                 $767.00
    Borough          Winters Ave.,
                     West Hazleton,
                       PA 18202

  West Hazleton       508-510                  $1,339.65               None                $1,339.65
    Garbage          Winters Ave.,
  Disposal Bill      West Hazleton,
                       PA 18202

      E.       Secured claims for which §506 valuation is applicable. Check one.




Case
Case5:18-bk-01055-RNO
     5:18-bk-01055-RNO Doc
                       Doc18   Filed03/16/18
                            7 Filed 04/23/18 Entered
                                               Entered03/16/18
                                                      04/23/1809:13:00
                                                               19:48:22 Desc
                                                                        Desc
                       Main Document
                       Main Document    Page 8  of 14
                                         Page 5 of 11
                 None. If “None” is checked, the rest of §2.E need not be completed or
                reproduced.

            X Claims listed in the subsection are debts secured by property not described in §2.D of
this plan. These claims will be paid in the plan according to modified terms, and liens retained until
entry of discharge. The excess of the creditor’s claim will be treated as an unsecured claim. Any claim
listed as “$0.00" or “NO VALUE” in the “Modified Principal Balance” column below will be treated as
an unsecured claim. The liens will be avoided or limited through the plan or Debtor will file an
adversary action (select method in last column). To the extent not already determined, the amount,
extend or validity of the allowed secured claim for each claim listed below will be determined y he court
at the confirmation hearing. Unless otherwise ordered, if the claimant notifies the Trustee tat the claim
was paid, payments on the claim shall cease.



 Name of           Description      Value of          Interest          Total             Plan or
 Creditor          of Collateral    Collateral        Rate              Payment           Adversary
                                    (Modified                                             Action
                                    Principal)
 Bayview           508-510           $28,000.00       5%                $30,951.00        Plan
 Financial                                            $2,951.00
 Loan              Winters Ave.,
                   West
                   Hazleton, PA
                   18202

        F. Surrender of Collateral. Check one.

         X              None. If “None” is checked, the rest of §2.F need not be completed or
                        reproduced.

                        The Debtor elects to surrender to each creditor listed below the collateral that
                        secures the creditor’s claim. The Debtor requests that upon confirmation of this
                        plan the stay under 11 U.S.C. §362(a) be terminated as to the collateral only
                        and that the stay under §1301 be terminated in all respects. Any allowed
                        unsecured claim resulting from the disposition of the collateral will be treated in
                        Part 4 below.


                Name of Creditor                       Description of Collateral to be Surrendered




Case
Case5:18-bk-01055-RNO
     5:18-bk-01055-RNO Doc
                       Doc18   Filed03/16/18
                            7 Filed 04/23/18 Entered
                                               Entered03/16/18
                                                      04/23/1809:13:00
                                                               19:48:22 Desc
                                                                        Desc
                       Main Document
                       Main Document    Page 9  of 14
                                         Page 6 of 11
       G.       Lien Avoidance. Do not use for mortgages or for statutory liens, such as tax liens.
Check one.

         X      None. If “None” is checked, the rest of §2.G need not be completed or reproduced.

                The Debtor moves to avoid the following judicial and/or nonpossessory, non-purchase
                money liens of the following creditors pursuant to §522(f) (this §should not be used for
                statutory or consensual liens such as mortgages).


 The name of the holder of lien.
 A description of the lien. For a
 judicial lien, include court and
 docket number.

 A description of the liened
 property.

 The value of the liened property

 The sum of senior liens

 The value of any exemption
 claimed.

 The amount of the lien.
 The amount of lien voided.

3.     PRIORITY CLAIMS.

       A.       Administrative Claims

                1.      Trustee’s Fees. Percentage fees payable to the Trustee will be paid at the rate
                        fixed by the United States Trustee.

                2.      Attorney’s Fees. Complete only one of the following options:

                        a.         In addition to the retainer of $1,000.00 already paid by the Debtor, the
                                   amount of $3,000.00 in the plan. This represents the unpaid balance of
                                   the presumptively reasonable fee specified in L.B.R. 2016-2( c); or

                        b.         $_______ per hour, with the hourly rate to be adjusted in accordance
                                   with the terms of the written fee agreement between the Debtor ands




Case
Case5:18-bk-01055-RNO
     5:18-bk-01055-RNO Doc
                        Doc18   Filed03/16/18
                            7 Filed  04/23/18 Entered
                                                Entered03/16/18
                                                       04/23/1809:13:00
                                                                19:48:22 Desc
                                                                         Desc
                       Main Document
                       Main Document     Page 10 of 14
                                          Page 7 of 11
                             the attorney. Payment of such lodestar compensation shall require a
                             separate fee application with the compensation approved by the Court
                             pursuant to L.B.R. 2016-2(b).

            3.       Other. Other administrative claims not included in §§ 3.A.1 or 3.A.2 above.
                     Check one of the following two lines.

                       X    None. If “None” is checked, the rest of § 3.A.3 need not be completed
                            or reproduced.

                             The following administrative claims will be paid in full.


            Name of Creditor                                   Estimated Total Payment




      B.    Priority Claims (including, but not limited to, Domestic Support Obligations
            other than those treated in § 3.C below). Check one of the following two lines.

                     None. If “None” is checked, the rest of § 3.B need not be completed or
                     reproduced.

                 X   Allowed unsecured claims, including domestic support obligations, entitled to
                     priority under § 1322(a) will be paid in full unless modified under §9.


            Name of Creditor                                   Estimated Total Payment




      C.    Domestic Support Obligations assigned to or owed to a governmental unit
            under 11 U.S.C. §506 (a)(1)(B). Check one of the following two lines.

              X      None. If “None” is checked, the rest of § 3.C need not be completed or
                     reproduced.

                     The allowed priority claims listed below are based on a domestic support
                     obligation that has been assigned to or is owed to a governmental unit and will
                     be paid less than the full amount of the claim. This plan provision requires that
                     payments in § 1.A. be for a term of 60 months (see 11 U.S.C. § 1322 (a)(4)).




Case
Case5:18-bk-01055-RNO
     5:18-bk-01055-RNO Doc
                        Doc18   Filed03/16/18
                            7 Filed  04/23/18 Entered
                                                Entered03/16/18
                                                       04/23/1809:13:00
                                                                19:48:22 Desc
                                                                         Desc
                       Main Document
                       Main Document     Page 11 of 14
                                          Page 8 of 11
                  Name of Creditor                                 Estimated Total Payment




4.      UNSECURED CLAIMS

        A.        Claims of Unsecured Nonpriority Creditors Specially Classified. Check one of
                  the following two lines.

                   X     None. If “None” is checked, the rest of § 4.A need not be completed or
                         reproduced.

                         To the extent that funds are available, the allowed amount of the following
                         unsecured claims, such as co-signed unsecured debts, will be paid before other,
                         unclassified, unsecured claims. The claim shall be paid interest at the rate stated
                         below. If no rate is stated, the interest rate set forth in the proof of claim shall
                         apply.


       Name of            Reason for            Estimated           Interest Rate        Estimated Total
       Creditor             Special             Amount of                                    Payment
                         Classification           Claim



        B.        Remaining allowed unsecured claims will receive a pro-rata distribution of
                  funds remaining after payment of other classes.

5.      EXECUTORY CONTRACTS AND UNEXPIRED LEASES. Check one of the
        following two lines.

          X       None. If “None” is checked, the rest of § 5 need not be completed or reproduced.

                  The following contracts and leases are assumed (and arrears in the allowed claim to be
                  cured in the plan) or rejected:


     Name of       Description     Monthly         Interest      Estimated      Total Plan     Assume or
      Other        of Contract     Payment           Rate         Arrears       Payment         Reject
      Party         or Lease




Case
Case5:18-bk-01055-RNO
     5:18-bk-01055-RNO Doc
                        Doc18   Filed03/16/18
                            7 Filed  04/23/18 Entered
                                                Entered03/16/18
                                                       04/23/1809:13:00
                                                                19:48:22 Desc
                                                                         Desc
                       Main Document
                       Main Document     Page 12 of 14
                                          Page 9 of 11
6.      VESTING OF PROPERTY OF THE ESTATE.

        Property of the estate will vest in the Debtor upon

        Check the applicable line:

                 plan confirmation.
                 entry of discharge.
           X     closing of case.

7.      DISCHARGE: (Check one)

        (X)      The debtor will seek a discharge pursuant to § 1328(a).
        ( )      The debtor is not eligible for a discharge because the debtor has previously received a
                 discharge described in § 1328(f).

8.      ORDER OF DISTRIBUTION:

If a pre-petition creditor files a secured, priority or specially classified claim after the bar date, the
Trustee will treat the claim as allowed, subject to an objection by the Debtor.

Payments from the plan will be made by the Trustee in the following order:
Level 1:            Adequate Protection Payments
 Level 2:           Debtor’s Attorney Fees
Level 3:            Domestic Support Obligations
 Level 4:           Secured Claims, Pro Rata
Level 5:          Priority Claims, pro rata
Level 6:         Specially classified unsecured claims
Level 7:         Timely filed general unsecured claims
Level 8:          Untimely filed general unsecured claims to which Debtor has not objected
If the above Levels are filled in, the rest of § 8 need not be completed or reproduced. If the above
Levels are not filled-in, then the order of distribution of plan payments will be determined by the Trustee
using the following as a guide:

Level 1:         Adequate protection payments.
Level 2:         Debtor’s attorney’s fees.
Level 3:         Domestic Support Obligations.
Level 4:         Priority claims, pro rata.
Level 5:         Secured claims, pro rata.
Level 6:         Specially classified unsecured claims.
Level 7:         Timely filed general unsecured claims.
Level 8:         Untimely filed general unsecured claims to which the Debtor has not objected.




Case
Case5:18-bk-01055-RNO
     5:18-bk-01055-RNO Doc
                        Doc18   Filed03/16/18
                            7 Filed  04/23/18 Entered
                                               Entered03/16/18
                                                       04/23/1809:13:00
                                                               19:48:22 Desc
                                                                        Desc
                       Main Document
                       Main Document     Page 13 of 14
                                         Page 10 of 11
9. NONSTANDARD PLAN PROVISIONS

Include the additional provisions below or on an attachment. Any nonstandard provision
placed elsewhere in the plan is void. (NOTE: The plan and any attachment must be filed as
one document, not as a plan and exhibit.)

The following is a summary of the creditors and amounts to be paid by the Trustee pursuant to
this Plan:

        Chapter 13 Trustee                               $ 3,395.00(est.)
        Tullio DeLuca, Esq.,                             $ 3,000.00
        Bayview Financial Loan                           $ 30,951.00 (allowed secured claim)
        Greater Hazleton Joint Sewer Auth.               $    672.00 (allowed secured claim)
        Hazleton City Auth.                              $ 1,784.74 (allowed secured claim)
        West Hazleton Borough                            $     767.00 (allowed secured claim)
        West Hazleton Garbage Disposal Bill              $ 1,339.65 (allowed secured claim)
        Unsecured Creditors-Pro-rata basis               $ 3,354.61
                             Total:                      $ 45,264.00

** Debtor shall be responsible to pay real estate taxes by end of each current tax year period
and maintain insurance on the real property during the term of the Plan


 The Chapter 13 Trustee payment shall be made to the following address:

                        CHARLES J. DEHART, III, ESQ.
                        P.O. BOX 7005
                        LANCASTER, PA 17604




Dated: March 16, 2018                            /s/Tullio DeLuca
                                                 Attorney for Debtor


                                                 /s/Rosa Arias
                                                 Debtor




By filing this document, the debtor, if not represented by an attorney, or the Attorney for Debtor also
certifies that this plan contains no nonstandard provisions other than those set out in §9.




Case
Case5:18-bk-01055-RNO
     5:18-bk-01055-RNO Doc
                        Doc18   Filed03/16/18
                            7 Filed  04/23/18 Entered
                                               Entered03/16/18
                                                       04/23/1809:13:00
                                                               19:48:22 Desc
                                                                        Desc
                       Main Document
                       Main Document     Page 14 of 14
                                         Page 11 of 11
